Case 1:20-cv-02875-LDH-PK Document 175 Filed 07/01/24 Page 1 of 2 PageID #: 2026




 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK

                                                       X
 NOVAGOLD RESOURCES, INC.,                             :
                                                       :      20-CV-2875 (LDH) (PK)
                               Plaintiff,              :
                                                       :
                 - against -                           :      ORAL ARGUMENT REQUESTED
                                                       :
 J CAPITAL RESEARCH USA LLC,                           :
                                                       :
                               Defendant.              :
                                                       X


                                            NOTICE OF MOTION

         PLEASE TAKE NOTICE that upon the accompanying memorandum of law, the

 accompanying declarations of Doe 2 and Adam I. Rich, and the exhibits annexed thereto, and all

 other pleadings and proceedings, nonparty Doe 1 (the “Interested Party”), by and through its

 undersigned counsel, will move this Court before the Honorable LaShann DeArcy Hall, on a date

 and time to be set by the Court, at the United States Courthouse for the Eastern District of New

 York, 225 Cadman Plaza East Brooklyn, New York 11201 Courtroom 4H North, for an order:

 (i) granting the Interested Party’s motion to intervene as of right pursuant to Fed. R. Civ. P. 24(a)

 or, in the alternative, by permissive intervention pursuant to Fed. R. Civ. P. 24(b)(1)(B), for the

 limited purpose of seeking a protective order to secure its First Amendment right of association by

 barring disclosure of its identity in this case; (ii) entering said protective order pursuant to the First

 Amendment and Fed. R. Civ. P. 26(c); and (iii) permitting the Interested Party to litigate this

 motion anonymously.
Case 1:20-cv-02875-LDH-PK Document 175 Filed 07/01/24 Page 2 of 2 PageID #: 2027




 Dated: New York, New York
        May 27, 2024

                                     Respectfully submitted,

                                     DAVIS WRIGHT TREMAINE LLP


                                     By: /s/ Robert D. Balin
                                        Robert D. Balin

                                     Robert D. Balin
                                     Adam I. Rich
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                                     Attorneys for Doe 1 (the “Interested Party”)




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